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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS – CONNECTICUT and MAKE
 THE ROAD NEW YORK,

                      Plaintiffs,                    Civil Action No.
                                                     3:17-cv-1061-RMS
                          v.

 U.S. CITIZENSHIP AND IMMIGRATION
 SERVICES, U.S. CUSTOMS AND BORDER
 PROTECTION, and U.S. DEPARTMENT OF
 STATE,

                     Defendants.


                                    [PROPOSED] ORDER

       Upon consideration of the Consent Motion for an Extension of Time, it is hereby:

       ORDERED that the consent motion is GRANTED, and it is further

       ORDERED that on or before December 6, 2019, Defendant USCIS will propose to

Plaintiffs a date by which a draft sample Vaughn index can be provided, from documents

referred to outside agencies and entities, and in doing so Defendant will identify those agencies

or entities to which documents were referred, and which withheld or redacted pages of

documents in full.

       SO ORDERED.

                                                     _________________________________
                                                     UNITED STATES MAGISTRATE JUDGE
